  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 1 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following

                                                                                EXHIBIT

                                                                                   A-9
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 2 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
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                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 3 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 4 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 5 of 199
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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 8 of 199
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 10 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
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                                             956-381-5774
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 11 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 12 of 199




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by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

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                                      Certificate of Service

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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 13 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 14 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 15 of 199
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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 19 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 20 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
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                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 22 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

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by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

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                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 23 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 24 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 25 of 199
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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 30 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 31 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 32 of 199




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                                              /s/
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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 39 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 40 of 199




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                                                     Respectfully submitted,

                                              /s/
                                             __________________________

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                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 41 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 42 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 43 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 44 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 45 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 46 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 47 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 48 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 49 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 50 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
                                             S - 1111 W. Nolana Ave
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                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 51 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 52 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             Houston, TX 77062
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                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
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                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

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emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 53 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 54 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 55 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 56 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 57 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 58 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 59 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 60 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
                                             S - 1111 W. Nolana Ave
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                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 61 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 62 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
                                             S - 1111 W. Nolana Ave
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                                             Fax: (281) 213-0628
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                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 63 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 64 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 65 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 66 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 67 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 68 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 69 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 70 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
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                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 71 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 72 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             McAllen, Texas 78504
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                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 73 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 74 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 75 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 76 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 77 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 78 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 79 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 80 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
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                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 81 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 82 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
                                             S - 1111 W. Nolana Ave
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                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 83 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 84 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 85 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 86 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 87 of 199
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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 90 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

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                                             A’Hern Law Group PLLC
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                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 91 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 92 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
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                                             Respectfully submitted,

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                                             and

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                                      Certificate of Service

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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 94 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 95 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 96 of 199
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 Admission 39.           You have never spoken to Benito Garza from 2020-2023 regarding hours
 worked.

 Response:       Admit

 Admission 40.           You have never spoken to Alberto Trevino from 2020-2023 regarding your
 pay.

 Response:               Deny

 Admission 41.           You have never spoken to Alberto Trevino from 2020-2023 regarding hours
 worked.

 Response:        Deny

 Admission 42.           You have never spoken to Mirta Garza from 2020-2023 regarding your pay.

 Response:
                    Admit
 Admission 43.           You have never spoken to Mirta Garza from 2020-2023 regarding hours
 worked.

 Response:       Admit

 Admission 44.           You have never spoken to Lorenzo Luben from 2020-2023 regarding your
 pay.
                   Admit
 Response:

 Admission 45.           You have never spoken to Lorenzo Luben from 2020-2023 regarding hours
 worked.

 Response:        Admit

 Admission 46.           You did not work for Defendant from 2020-2023.

 Response:
                   Deny




                                                 12
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 98 of 199




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
JUANA CRUZ,                           §
OFELIABENAVIDES,                      §
GABRIELA VELAZQOEZ, MELESIO           §
CRUZ,                                 §
ANGELICA CHAVEZ                       §
OLGA PEREZ,                           §
MAURICIO SANCHEZ,                     §
JORGE MAULEON,                        §
HECTOR GONZALEZ,                      §
YESSYPEREZ,                           §
LUIS ALBERTO ZUNGA,                   §
GONZALO ESQUIVEL,                     §
PATRICIA CONDE,                       §
NORMA CONDE,                          §
RAFAEL SANCHEZ,                       §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                     §
HECTOR SANCHEZ,                       §
ROSENDO LIEVANOS,                     §
MARIA DE LOURDES CRUZ,                §
JOSE ELIAS NG,                        §
RICARDO GONZALO,                      §
CONCEPCION PEREZ,                     §
ELIZABETH LARA,                       §
MIGUEL CABALLERO,                     §
CARLOS DANIEL LOPEZ,                  §
GILDA RIVAS,                          §
ARMANDO MORALES DE LLANO,             §
Individually and On Behalf of All     §
Others Similarly Situated,            §
                                      §
             Plaintiffs,              §
V                                     §
                                      §
DELGAR FOODS, INC D/B/A/ DELIA’S      §
TAMALES                               §
                                      §
             Defendants.              §

                              VERIFICATION
  Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 99 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 100 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 101 of 199




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                                             Edinburg, TX. 78539
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                                             956-381-5774
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                                      Certificate of Service

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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 102 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 103 of 199
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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 106 of 199
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 109 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

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                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 110 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 111 of 199




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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 112 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 113 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 114 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 115 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 116 of 199
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 119 of 199




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                                                     Respectfully submitted,

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                                             and

                                             /s/
                                             ________________________

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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 120 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 121 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 122 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 123 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 124 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 125 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 126 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 127 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 128 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 129 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
                                             S - 1111 W. Nolana Ave
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                                             Fax: (281) 213-0628
                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 130 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 131 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             Houston, TX 77062
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                                             and

                                             Richard R. Alamia
                                             Attorney at Law
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                                             Edinburg, TX. 78539
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                                             956-381-5774
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                                      Certificate of Service

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emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 132 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 133 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 134 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 135 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 136 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 137 of 199
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 139 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
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                                             956-381-5774
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 140 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 141 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

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by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             and

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                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 142 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 143 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 144 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 145 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 146 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 147 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 148 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 149 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             McAllen, Texas 78504
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                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 150 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 151 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
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                                             McAllen, Texas 78504
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                                             Fax: (281) 213-0628
                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 152 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 153 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 154 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 155 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 156 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 157 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 158 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 159 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
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                                             Edinburg, TX. 78539
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                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 160 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 161 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
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                                             Respectfully submitted,

                                              /s/
                                             __________________________

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                                             A’Hern Law Group PLLC
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                                             Houston, TX 77062
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                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

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                                             Attorney at Law
                                             619 S. 12th Ave.
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                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

I certify that on this 2 day of May, 2024 a true and correct copy of the foregoing answers were
emailed to:
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 162 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 163 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 164 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 165 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 166 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 167 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 168 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 169 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
                                             P -16516 El Camino Real # 349
                                             Houston, TX 77062
                                             S - 1111 W. Nolana Ave
                                             McAllen, Texas 78504
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                                             Fax: (281) 213-0628
                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
                                             956-381-5766
                                             956-381-5774
                                             Richard.alamia@yahoo.com
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 170 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 171 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             and

                                             Richard R. Alamia
                                             Attorney at Law
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                                             956-381-5774
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                                      Certificate of Service

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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 173 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 174 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 175 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 176 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 177 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 178 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 179 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             Houston, TX 77062
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                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
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                                             956-381-5774
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 180 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 181 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
release employment and/or application records.

Responses are made on the basis of information and writings currently available to and located
by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             and

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                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 182 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 183 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 184 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 185 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 186 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 187 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 188 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 189 of 199




       I certify under penalty of perjury that the foregoing answers are true and correct answers

of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
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                                             McAllen, Texas 78504
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                                             Fax: (281) 213-0628
                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             /s/
                                             ________________________

                                             Richard R. Alamia
                                             Attorney at Law
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                                             956-381-5766
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 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 190 of 199




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
 JUANA CRUZ,                                     §
 OFELIABENAVIDES,                                §
 GABRIELA VELAZQOEZ, MELESIO                     §
 CRUZ,                                           §
 ANGELICA CHAVEZ                                 §
 OLGA PEREZ,                                     §
 MAURICIO SANCHEZ,                               §
 JORGE MAULEON,                                  §
 HECTOR GONZALEZ,                                §
 YESSYPEREZ,                                     §
 LUIS ALBERTO ZUNGA,                             §
 GONZALO ESQUIVEL,                               §
 PATRICIA CONDE,                                 §
 NORMA CONDE,                                    §
 RAFAEL SANCHEZ,                                 §    CIVIL ACTION NO: 7:23-CV-00343
 ROSA QUINTANILLA,                               §
 HECTOR SANCHEZ,                                 §
 ROSENDO LIEVANOS,                               §
 MARIA DE LOURDES CRUZ,                          §
 JOSE ELIAS NG,                                  §
 RICARDO GONZALO,                                §
 CONCEPCION PEREZ,                               §
 ELIZABETH LARA,                                 §
 MIGUEL CABALLERO,                               §
 CARLOS DANIEL LOPEZ,                            §
 GILDA RIVAS,                                    §
 ARMANDO MORALES DE LLANO,                       §
 Individually and On Behalf of All               §
 Others Similarly Situated,                      §
                                                 §
                  Plaintiffs,                    §
 V                                               §
                                                 §
 DELGAR FOODS, INC D/B/A/ DELIA’S                §
 TAMALES                                         §
                                                 §
                 Defendants.                     §

         PLAINTIFFS RESPONSES TO FIRST REQUEST FOR ADMISSIONS

Plaintiffs respond to Respondent’s Request for Admissions as set forth below. The following
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 191 of 199




responses are made solely for the purposes of this action. Also, attached are authorizations to
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by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve the right to modify,
revise, supplement, or amend their responses as they deem appropriate.

                                             Respectfully submitted,

                                              /s/
                                             __________________________

                                             Dr. DOUGLAS A’HERN
                                             A’Hern Law Group PLLC
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                                             Houston, TX 77062
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                                             Fax: (281) 213-0628
                                             TBN: 24069206
                                             FED: 1456411
                                             douglas.a.ahern@gmail.com

                                             and

                                             Richard R. Alamia
                                             Attorney at Law
                                             619 S. 12th Ave.
                                             Edinburg, TX. 78539
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                                             956-381-5774
                                             Richard.alamia@yahoo.com


                                      Certificate of Service

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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 192 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 193 of 199
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Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 195 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 196 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 197 of 199
Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 198 of 199




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION
JUANA CRUZ,                            §
OFELIABENAVIDES,                       §
GABRIELA VELAZQOEZ, MELESIO            §
CRUZ,                                  §
ANGELICA CHAVEZ                        §
OLGA PEREZ,                            §
MAURICIO SANCHEZ,                      §
JORGE MAULEON,                         §
HECTOR GONZALEZ,                       §
YESSYPEREZ,                            §
LUIS ALBERTO ZUNGA,                    §
GONZALO ESQUIVEL,                      §
PATRICIA CONDE,                        §
NORMA CONDE,                           §
RAFAEL SANCHEZ,                        §   CIVIL ACTION NO: 7:23-CV-00343
ROSA QUINTANILLA,                      §
HECTOR SANCHEZ,                        §
ROSENDO LIEVANOS,                      §
MARIA DE LOURDES CRUZ,                 §
JOSE ELIAS NG,                         §
RICARDO GONZALO,                       §
CONCEPCION PEREZ,                      §
ELIZABETH LARA,                        §
MIGUEL CABALLERO,                      §
CARLOS DANIEL LOPEZ,                   §
GILDA RIVAS,                           §
ARMANDO MORALES DE LLANO,              §
Individually and On Behalf of All      §
Others Similarly Situated,             §
                                       §
              Plaintiffs,              §
V                                      §
                                       §
DELGAR FOODS, INC D/B/A/ DELIA’S       §
TAMALES                                §
                                       §
             Defendants.               §

                              VERIFICATION
 Case 7:23-cv-00343 Document 49-10 Filed on 10/18/24 in TXSD Page 199 of 199




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of Plaintiff’s to Defendant’s' Request for Interrogatories included therein. The answers are true

and correct to the best of Plaintiff's knowledge and information.




                                                     Respectfully submitted,

                                              /s/
                                             __________________________

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                                             A’Hern Law Group PLLC
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                                             and

                                             /s/
                                             ________________________

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